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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

 DAVID POSCHMANN,

                 Plaintiff,
 v.                                                               CASE NO.

 STUART NORTH, LLC,

                 Defendant.
                                             /*1
                                             COMPLAINT

         Plaintiff, DAVID POSCHMANN, by and through his undersigned counsel, hereby sues

 the Defendant, STUART NORTH, LLC, for injunctive relief pursuant to the Americans With

 Disabilities Act, 42 U.S.C. §12181, et seq. (hereinafter, the “ADA”) and in support thereof states

 as follows:

                                            JURISDICTION

          1.              This court has subject-matter jurisdiction since this action arises pursuant to 28

 U.S.C. § 1331 and §1343 and Plaintiffs claims arise under 42 U.S.C. §12181 et seq. based upon

 Defendant's violations of Title III of the ADA.

                                                   VENUE

          2.      Venue lies in this district pursuant to 28 U.S.C. § 1391(b) because the property

  that is the subject of this action is situated within this district and the events giving rise to the

  claim asserted herein occurred in this district.

                                                   PARTIES

          3.      Plaintiff, David Poschmann, is an individual residing in this district who is over

  eighteen years of age and sui juris. Plaintiff is disabled as such term is defined by the ADA and

  is substantially limited in performing one or more major life activities due to the amputation of
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 his right leg in 2012. Plaintiff uses a wheelchair to ambulate. Plaintiff drives his own specially

 equipped vehicle and has a valid disabled parking permit from the Florida Department of

 Highway Safety and Motor Vehicles. Plaintiffs access to the premises described below

 (hereinafter, the “Property”), and his full and equal enjoyment of the goods, services, facilities,

 privileges, advantages and/or accommodations offered at the Property were restricted and limited

 because of Plaintiff s disability and will be restricted in the future unless and until Defendant is

 compelled to cure the mobility-related ADA violations that exist at the Property, including those

 set forth in this Complaint.1Plaintiff intends to return to the Property in the near future, and

 within thirty days, to avail himself of the goods and services offered to the public at the Property

 and/or in order to test the Property for compliance with the mobility-related provisions of the

 ADA.

          4.      Defendant transacts business within this judicial district within the State of

 Florida by, inter alia, being the owner and operator of the Property, a retail shopping center

  (including the adjoining grounds servicing the retail shopping center) commonly known as Stuart

  North with a Martin County Property Appraiser Location Address of 2281 SE Federal Highway

  in Stuart, Florida.

                 CLAIM FOR INJUNCTIVE RELIEF PURSUANT TO THE ADA

          5.       On July 26, 1990, Congress enacted the ADA explaining that the purpose of the

  ADA was to provide a clear and comprehensive national mandate for the elimination of

  discrimination against individuals with disabilities and to provide clear, strong, consistent,

  enforceable standards addressing said discrimination, invoking the sweep of congressional1



  1 The term "ADA violations", as used herein, means that the physical elements at issue violated the ADA's
  regulations and the ADA Standards for Accessible Design, originally published in 1991, as well as the 2010
  Standards that became effective on March 15, 2012.



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 authority in order to address the major areas of discrimination faced day-to-day by people with

 disabilities to ensure that the Federal government plays a central role in enforcing the standards

 set by the ADA. (42 U.S.C. § 12101 (b)(l)-(4)).

         6.       Places of public accommodation were provided with one and a half years from the

 enactment of the ADA to implement the requirements imposed by the ADA. The effective date

 of Title III of the ADA was January 26, 1992 (or January 26, 1993 if the defendant had ten or

 fewer employees and gross receipts of $500,000.00 or less).

         7.       Pursuant to the mandates of 42 U.S.C. §12134(a), on September 15, 2010, the

 Department of Justice, Office of the Attorney General, published revised regulations for Title III

 of the Americans With Disabilities Act of 1990 in the Federal Register to implement the

 requirements of the ADA (hereinafter “STANDARDS”). Public accommodations were required
                                                                         2
 to conform to these regulations on or before March 15, 2012.

         8.       The Property is a place of public accommodation pursuant to the ADA.

         9.       Most recently, in May, 2020 Plaintiff attempted to, and to the extent possible,

 accessed the Property but could not fully do so because of his disability due to the mobility-

 related ADA violations as well as Defendant's mobility-related discriminatory policies towards

 the disabled that exist at the Property that preclude and/or limit his access to the Property and/or

 the goods, services, facilities, privileges, advantages and/or accommodations offered therein,

 including the ADA violations set forth in this Complaint.2




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   "Safe Harbor. Elements that have not been altered in existing facilities on or after March 15,2012, and that comply
 with the corresponding technical and scoping specifications for those elements in the 1991 Standards are not
 required to be modified in order to comply with the requirements set forth in the 2010 Standards" 28 CFR
 §36.304(d)(2)(i), however, the violations described herein violate both the 1991 Standards as well as the 2010
 Standards.



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         10.               Plaintiff is an advocate of the rights of similarly situated disabled persons and,

 pursuant to Houston v. MarodSupermarkets, Inc., 733 F.3d 1323 (11th Cir. 2013), is a "tester"

 for the purpose of asserting his civil rights, monitoring, ensuring, and determining whether

 places of public accommodation are in compliance with the mobility-related provisions of the

 ADA.

         11.      Defendant has discriminated against Plaintiff by denying him access to and full

 and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

 accommodations offered at the Property in violation of the ADA and will continue to

 discriminate against Plaintiff unless and until Defendant implements policies, consistent with the

 ADA, to accommodate the disabled and is compelled to remove all mobility-related barriers that

 exist at the Property, thus making the Property accessible to Plaintiff, as required by the ADA.

          12.     The mobility-related unlawful physical barriers and ADA violations encountered

 and/or known by Plaintiff which preclude or limit Plaintiffs ability (because of Plaintiff s

 disability) to access the Property and/or fully and equally enjoy the goods, services, facilities,

 privileges, advantages and/or accommodations of the Property, include (the applicable sections

  of the STANDARDS are also denoted3):

          a)      Non-compliant accessible routes including the path between the disabled person
                  parking spaces opposite Wigs & More, Ameritrade and between WellMed and the
                  new Blaze location and the retail promenade a failure to safely connect the main
                  retail building with the public sidewalk on Monterey Boulevard and a failure to
                  connect the main retail building with the outparcel building housing
                  Chipotle, Five Guys and Cold Stone Creamery (in violation of STANDARDS
                  206, 402, 403, and 404) and

          b)       Non-compliant curb ramps leading to the entrances to the retail promenade from
                   the corresponding disabled person parking spaces including those opposite Wigs
                   & More, Ameritrade and between WellMed and the new Blaze location (in
                   violation of STANDARD 406).

  3 The 2010 Standards are denoted because the required remediation will occur after March 15, 2012 and thus must
  comply with these standards.


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        13.      The removal of the physical barriers, dangerous conditions and ADA violations

 set forth herein is structurally practicable. 42 U.S.C. § 12182(b)(2)(A)(iv) and 42 U.S.C.

 §12183(a)(2).

        14.      Plaintiff is without an adequate remedy at law and is suffering irreparable harm

 and he reasonably anticipates that he will continue to suffer irreparable harm unless and until

 Defendant is required to remove the mobility-related physical ADA violations as well as its

 mobility-related discriminatory policies towards the disabled that exist at the Property, including

 those set forth herein, and continually maintain the Property in an ADA compliant condition.

         15.     Plaintiff has retained the undersigned counsel for the filing and prosecution of this

 action and is entitled to recover reasonable attorneys’ fees, costs and expenses from Defendant,

 including litigation expenses and costs pursuant to 42 U.S.C. §12205.

         16.     Pursuant to 42 U.S.C. § 12188(a), this Court is provided with authority to grant

 permanent injunctive relief to Plaintiff, including an Order compelling Defendant to implement

 policies, consistent with the ADA, to accommodate the disabled and to alter the property to make

 it readily accessible to and usable by Plaintiff as required by the ADA.

         WHEREFORE, Plaintiff, David Poschmann, requests that the Court issue a permanent

 injunction enjoining Defendant from continuing its mobility-related discriminatory practices,

  ordering it to implement policies, consistent with the ADA, to accommodate the disabled and to

 remove the mobility-related physical barriers to access and alter the subject Property to make it

  readily accessible to and usable by Plaintiff as required by the ADA, and continually maintain




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 the Property in an ADA compliant condition and awarding Plaintiff reasonable attorneys’ fees,

 litigation expenses, including expert fees, and costs.

                                                          s/Drew M. Levitt
                                                          DREW M. LEVITT, ESQ.
                                                          Florida Bar No. 782246
                                                          drewmlevitt@gmail.com
                                                          LEE D. SARKIN, ESQ.
                                                          Florida Bar No. 962848
                                                          Lsarkin@aol.com
                                                          4700 N.W. Boca Raton Boulevard
                                                          Suite 302
                                                          Boca Raton, Florida 33431
                                                          Telephone (561) 994-6922
                                                          Facsimile (561) 994-0837
                                                          Attorneys For Plaintiff




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